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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                  Case No. 11-20129

SCOTT WILLIAM SUTHERLAND et al.

             Defendants.
                                               /

UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                  Case No. 11-20066


JEFF GARVIN SMITH et al.,

             Defendants.
                                               /

                          ORDER SETTING FIRST TRIAL DATE

      On June 20, 2013, the court conducted a status conference in the above-

captioned matters. Among other issues, the court discussed scheduling a trial for the

first group of Defendants for April 15, 2014. The court requested the Government to

prepare and circulate a memorandum proposing which Defendants should comprise the

first group, and the Government complied. No substantive objections were submitted,

and the court thus adopts the groups suggested by the Government. Accordingly,

      IT IS ORDERED that the following Defendants will proceed to jury trial on April

15, 2014 at 9:00 a.m.:

      1. D-1 Scott William Sutherland
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           2. D-2 Ronald Raymond Roberts

           3. D-3 David Thomas Roberts

           4. D-4 Patrick Michael McKeoun

           5. D-5 Jeff Garvin Smith

           6. D-6 Paul Anthony Darrah

           7. D-7 Cary Dale Vandiver

           8. D-8 Vincent John Witort

           9. D-13 Gary Lee Nelson

           10. D-17 David Randy Drozdowksi



                                                                  s/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE
Dated: August 9, 2013

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 9, 2013, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




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